                      Case 2:08-cr-00064-JCM-GWF Document 809 Filed 10/21/20 Page 1 of 5



                 1
                 2
                 3
                 4                                 UNITED STATES DISTRICT COURT
                 5                                       DISTRICT OF NEVADA
                 6                                                  ***
                 7      UNITED STATES OF AMERICA,                           Case No. 2:08-CR-64 JCM (GWF)
                 8                                          Plaintiff(s),                    ORDER
                 9             v.
               10       STEVEN GRIMM, et al.,
               11                                         Defendant(s).
               12
               13             Presently before the court is Eve Mazzarella’s (“defendant”) motion to reconsider this
               14      court’s denial of compassionate release. (ECF No. 807). The government has not responded, and
               15      the time to do so has passed.
               16      I.     Background
               17             As relevant to this motion, Judge Hunt sentenced defendant to 14 years’ incarceration on
               18      March 30, 2012, for various charges related to a mortgage fraud scheme. (ECF Nos. 428; 439).
               19             In light of the ongoing COVID-19 pandemic, defendant moved this court for
               20      compassionate release. (ECF No. 778). She argued that her underlying conditions compromise
               21      her immune system. (Id.). This court ultimately denied defendant’s request, (ECF No. 798), but
               22      first ordered a medical examination of defendant and additional briefing. (ECF No. 778). This
               23      court was inclined to release defendant, but only if she was actually diagnosed with Systemic
               24      Lupus Erythematous (“lupus”) as alleged. (ECF No. 787). The BOP’s physician examined
               25      defendant and found that she did not have lupus. (ECF No. 794).
               26             Defendant moves for reconsideration after having obtained additional medical opinions on
               27      her immunological condition. (ECF No. 807).
               28

James C. Mahan
U.S. District Judge
                      Case 2:08-cr-00064-JCM-GWF Document 809 Filed 10/21/20 Page 2 of 5



                1      II.     Legal Standard

                2              Federal Rule of Civil Procedure 60(b) provides that a court may relieve a party from
                3      judgment on the basis of (1) mistake, inadvertence, surprise, or excusable neglect, (2) newly
                4      discovered evidence that, with reasonable diligence, could not have been discovered in time to
                5      move for a new trial under Rule 59(b); (3) fraud, misrepresentation, or misconduct by an opposing
                6      party; (4) the judgment is void; (5) the judgment has been satisfied, released, or discharged; it is
                7      based on an earlier judgment that has been reversed or vacated; or applying it prospectively is no
                8      longer equitable; or (6) any other reason that justifies relief. Fed. R. Civ. P. 60(b).1
                9      III.    Discussion
                               Per the local rules, “[t]he failure of an opposing party to include points and authorities in
              10
                       response to any motion constitutes a consent to granting the motion.” LCR 47-3. The response
              11
                       deadline was over two weeks ago, yet the government has not responded. However, this court
              12
                       exercises its discretion to consider the government’s prior briefing and examine the merits of
              13
                       defendant’s request. (ECF No. 807). Defendant represents that the government has communicated
              14       its desire to maintain its original position. (Id.).
              15               Defendant moves to reconsider on “based upon new information and developments in
              16       [defendant’s] medical condition and diagnosis.” (Id.). Defendant’s family has retained Second
              17       Opinion Expert, Inc. (“Second Opinion”), “a medical service which provides medical reviews and

              18       opinions based upon actual medical examinations or review of medical records when a face to face
                       examination is not possible.”        (Id.).   Defendant has also received an additional medical
              19
                       examination from the Bureau of Prisons (“BOP”) which corroborated her position. (Id.). These
              20
                       additional medical opinions are indeed new facts, warranting reconsideration.              Defendant
              21
                       represents that these opinions sufficiently demonstrate that she suffers from an autoimmune
              22
                       disorder that presents an increased risk of harm from COVID-19. (Id.). This court agrees.
              23
              24
              25       1
                         “[M]otions for reconsideration in criminal cases are governed by the rules that govern equivalent
              26       motions in civil proceedings.” United States v. Mendez, 2008 WL 2561962, at *2 (C.D. Cal. June
                       25, 2008); see also United States v. Martin, 226 F.3d 1042, 1047 n. 7 (9th Cir. 2000) (“As the
              27       Second Circuit noted in United States v. Clark, post-judgment motions for reconsideration may be
                       filed in criminal cases”).
              28

James C. Mahan
U.S. District Judge                                                      -2-
                      Case 2:08-cr-00064-JCM-GWF Document 809 Filed 10/21/20 Page 3 of 5



                1             The opinion of Rheumatologist Arash A. Horizon, M.D. (“Dr. Horizon”) diagnoses
                2      defendant with “Chronic Urticari,” noting that it is “likely an immediated process whereby the

                3      triggered immune response is causing uritcuria.” (Id.). Defendant explains that this is where the

                4      immune system “attack[s] the normal tissues of the body and caus[es] hives as a result.” (Id.
                       (citing American Osteopathic College of Dermatology, Urticaria, www.aocd.org/page/Urticaria)).
                5
                       This court notes that the opinion was generated without the benefit of an in-person examination,
                6
                       thus this court’s determination rests heavily on the entirety of defendant’s medical records. (ECF
                7
                       Nos. 778, 807).
                8             In August 2020, defendant also received and examination from a BOP physician, Dr.
                9      Bikramjit Ahluwalia (“Dr. Ahluwalia”). Dr. Ahluwalia opined that defendant suffered from
              10       “systemic involvement of connective tissue, unspecified – M35-9.” (ECF No. 807). This opinion
              11       also recognizes the possibility of autoimmune disease and recommends treatments accordingly.

              12       This opinion was made after an in-person examination and it largely tracks with the opinion by

              13       Dr. Horizon. (Id.).
                              Having weighed the dueling medical opinions presented by the defendant and government,
              14
                       this court finds that the instant case presents an extraordinary and compelling reason for release.
              15
                       While the court need not reiterate the well-known effects COVID-19 has had on day-to-day life,
              16
                       certain populations are particularly at risk of “severe illness” from the virus. See Center for
              17       Disease Control, People Who Need to Take Extra Precautions, (June 25, 2020).2 The CDC has
              18       provided that “severe illness from COVID-19” means “hospitalization, admission to the ICU,
              19       intubation or mechanical ventilation, or death.” See Center for Disease Control, Evidence used to
              20       update the list of underlying medical conditions that increase a person’s risk of severe illness from

              21       COVID-19, (Oct. 6, 2020).3         Additionally, defendant represents that she has had difficulty

              22       receiving her treatment. (ECF No. 807). Both of defendant’s recent medical opinions prescribe
                       Hydroxychloroquine. (Id.).
              23
                              This court has also weighed all necessary factors in deciding to grant defendant’s motion.
              24
                       To be eligible for compassionate release, a defendant must then demonstrate: (1) the existence of
              25
              26
                              2
                                Available            at           https://www.cdc.gov/coronavirus/2019-ncov/need-extra-
              27       precautions/index.html.
              28              3
                                Available           at            https://www.cdc.gov/coronavirus/2019-ncov/need-extra-
                       precautions/evidence-table.html.
James C. Mahan
U.S. District Judge                                                    -3-
                      Case 2:08-cr-00064-JCM-GWF Document 809 Filed 10/21/20 Page 4 of 5



                1      extraordinary and compelling reasons, and (2) that he is not a danger to the community. 18 U.S.C.
                2      § 3582(c)(1)(A); USSG § 1B1.13.         Under USSG § 1B1.13, “extraordinary and compelling

                3      reasons” include, amongst other things, terminal illnesses and medical conditions “that

                4      substantially diminishes the ability of the defendant to provide self-care within the environment of
                       a correctional facility and from which he or she is not expected to recover.” USSG § 1B1.13. This
                5
                       court grants defendant’s motion only upon considering defendant’s condition alongside other
                6
                       factors under 18 U.S.C. §3553(a). Defendant has served approximately 8 years of her 14-year
                7
                       sentence, and she serves no danger to the community. (ECF No. 778). The present circumstances
                8      dictate that the remainder of her sentence is better served outside of prison. Defendant has
                9      represented that she is able to serve this time with her father in California and that she has her
              10       family’s support. (Id.).
              11              In light of this court’s determination, defendant’s remaining 2255 motion is denied as moot.

              12       (ECF No. 700).

              13              Conclusion
                              Accordingly,
              14
                              IT IS HEREBY ORDERED, ADJUDGED, and DECREED that defendant Eve
              15
                       Mazzarella’s motion to reconsider (ECF No. 807) be, and the same hereby is, GRANTED.
              16
                              IT IS FURTHER ORDERED that defendant’s motion for compassionate release (ECF No.
              17       778) be, and the same hereby is, GRANTED.
              18              IT IS FURTHER ORDERED that defendant’s motion to Vacate, Set Aside, or Correct
              19       Sentence under 28 U.S.C. 2255 (ECF No. 700) be, and the same hereby is, DENIED as moot.
              20              IT IS FURTHER ORDERED that defendant’s sentence of imprisonment be, and the same

              21       hereby is, MODIFIED to CREDIT FOR TIME SERVED.

              22              IT IS FURTHER ORDERED that this order is stayed for up to 14 days, for the verification
                       of the defendant’s residence and/or establishment of a release plan, to make appropriate travel
              23
                       arrangements, and to ensure the defendant’s safe release. The defendant shall be released as soon
              24
                       as a residence is verified, a release plan is established, appropriate travel arrangements are made,
              25
                       and it is safe for the defendant to travel. There shall be no delay in ensuring travel arrangements
              26       are made. If more than fourteen days are needed to make appropriate travel arrangements and
              27       ensure the defendant’s safe release, the parties shall immediately notify the court and show cause
              28       why the stay should be extended.

James C. Mahan
U.S. District Judge                                                   -4-
                      Case 2:08-cr-00064-JCM-GWF Document 809 Filed 10/21/20 Page 5 of 5



                1             IT IS FURTHER ORDERED that defendant’s counsel shall, within 7 days of this order,
                2      contact the BOP to arrange transportation.

                3             IT IS FURTHER ORDERED that defendant shall serve the remaining portion of the

                4      original term of imprisonment (as calculated by the BOP) as supervised release with the special
                       condition that he shall be subject to home incarceration without the requirement of electronic
                5
                       monitoring for the time being.
                6
                              IT IS FURTHER ORDERED that defendant shall not be required to report to the U.S.
                7
                       Probation Office in person. However, within 72 hours of his release, defendant shall contact the
                8      U.S. Probation Office by telephone to check in.
                9             IT IS FURTHER ORDERED that defendant shall be restricted to her residence at all times
              10       (home incarceration) except for medical necessities and or other activities specifically approved
              11       by U.S. Probation or this court.

              12              IT IS FURTHER ORDERED that defendant shall serve supervised release as originally

              13       imposed.
                              IT IS FURTHER ORDERED that, in light of the COVID-19 pandemic, current standard
              14
                       condition originally imposed mandating that defendant work at least 30 hours per week at a lawful
              15
                       type of employment and participate in community service is temporarily suspended.
              16
                              IT IS FURTHER ORDERED that all other conditions of supervision originally imposed
              17       shall remain in effect.
              18              DATED October 21, 2020.
              19
                                                                    __________________________________________
              20                                                    UNITED STATES DISTRICT JUDGE
              21
              22
              23
              24
              25
              26
              27
              28

James C. Mahan
U.S. District Judge                                                  -5-
